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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
XHEJNI SHKRETA
                                                                Case No.:
                       Plaintiff,

                  v.                                            COMPLAINT
COLONNADE MANAGEMENT                                            DEMAND FOR JURY TRIAL
CORPORATION, COLUMBUS PROPERTIES,
INC., and JOHN DIMURRO,

                       Defendants.
------------------------------------------------------------x

        Plaintiff Xhejni Shkreta alleges as follows:


                                      JURISDICTION AND VENUE

        1.       This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

(“FLSA”) and the Family and Medical Leave Act (“FMLA”). This Court has supplemental

jurisdiction over the New York state law claims, as they are so related to the claims in this action

within the Court’s original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.




                                                         1
        2.     Venue is proper in this District because Defendants conduct business in this

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.

                                            PARTIES

        3.     Defendant Columbus Properties, Inc. is an Alaska corporation headquartered in

downtown Manhattan and has been an owner of commercial real estate for over 30 years.

Columbus Properties is part of the Oetker Group of companies, which is headquartered in

Germany. Its activities include food, shipping, banking, chemicals, hotels and real estate.

        4.     Colonnade Management Corporation is a New York commercial property

management firm headquartered in New York City with offices located in Downtown Manhattan,

Boston, Chicago, Miami, and Washington D.C.

        5.     In addition to ownership, through its subsidiary Colonnade Management

Corporation, Columbus Properties provides services in the areas of property management, leasing,

development and acquisition analysis.

        6.     Defendant Colonnade Management Corporation is a New York Corporation

headquartered in Downtown Manhattan.

        7.     Defendant John Dimurro is the president of Defendants Columbus Properties, Inc.

and Colonnade Management Corporation.

        8.     Plaintiff Xhejni Shkreta was employed by Defendants as an accountant from

November 2015 until June of 2020.

                                             FACTS

                                    Wage and Hour Claims




                                                 2
       9.        Plaintiff was an employee that was not exempt under the FLSA or state law

overtime requirements.

       10.       Plaintiff is not a certified public accountant, and her highest level of education is a

B.A. degree.

       11.       Throughout her employment with Defendants, her job was primarily to gather and

enter financial     data   into   Defendants'    bookkeeping      software and      prepare financial

statements/reports for John Dimurro.

       12.       Plaintiff did not have the authority to hire or fire employees of Defendants.

       13.       Plaintiff did not supervise or manage two or more employees of Defendants.

       14.       Plaintiff's schedule was from 8:30 a.m. to 5:30 p.m., with a one-hour lunch break.

       15.       Plaintiff regularly worked in excess of this schedule, as she often worked through

lunch or took a lunch that was far shorter than one hour. She also regularly remained at work well

past 6:00 p.m.

       16.       Plaintiff was not paid any overtime premium for hours worked in excess of 40 per

workweek.

       17.       Plaintiff's paystubs each pay period did not list her actual hours worked, as required

by NYLL § 195(3).

       18.       Plaintiff did not receive at the beginning of her employment a proper notice and

acknowledgement of pay rate containing her accurate overtime rate.

                                       Discrimination Claims

       19.       In mid-March 2020, Plaintiff informed Defendant Dimurro that she was pregnant

and expecting a child in the beginning of September 2020.




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        20.    Shortly thereafter, in May 2020, Mr. Dimurro had Plaintiff train a new hire, whom

Plaintiff believed would be Plaintiff's assistant.

        21.    On June 24, 2020, shortly before Plaintiff was scheduled to take her protected

FMLA leave, which would have been paid pursuant to Defendants' policy, Defendants fired

Plaintiff.

        22.    When communicating Plaintiff's termination to her, Mr. Dimurro raised one

mistake that occurred in September 2019 as the reason for Plaintiff's termination.

        23.    Defendants' stated reason for terminating Plaintiff was plainly pretextual: the

incident was not Plaintiff's fault, and it had occurred 9 months before Plaintiff's termination.

        24.    The timeline of events makes clear that after learning of Plaintiff's pregnancy and

anticipated maternity leave, Defendants prepared themselves for terminating her on the basis of

her pregnancy/paid maternity leave.

        25.    As a result of Defendants' illegal actions, Plaintiff has suffered lost wages and

emotional distress.

                                    FIRST CLAIM FOR RELIEF
                                      FLSA Overtime Violations
                                          29 U.S.C. §207

        26.    Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

        27.    At all relevant times, Defendants have been, and continue to be, an “employer”

engaged in interstate “commerce” within the meaning of FLSA, 29 U.S.C. § 203. At all relevant

times, Defendant has employed, “employee[s],” including Plaintiff.

        28.    Throughout the statute of limitations period covered by this claim, Plaintiff

regularly worked in excess of forty (40) hours per workweek.




                                                     4
       29.      At all relevant times, Defendants operated under a decision, policy and plan, and

under common policies, programs, practices, procedures, protocols, routines and rules of willfully

failing and refusing to pay the Plaintiff an overtime wage rate for work in excess of forty (40)

hours per workweek, and willfully failing to keep records required by the FLSA, even though

Plaintiff was entitled to overtime.

       30.      Plaintiff seeks damages in the amount of her unpaid overtime compensation,

liquidated (double) damages as provided by the FLSA for overtime violations, attorneys’ fees and

costs, pre- and post-judgment interest, and such other legal and equitable relief as this Court deems

just and proper.

                             SECOND CLAIM FOR RELIEF
                              New York Overtime Violations
                    New York Minimum Wage Act, N.Y. Stat. § 650 et seq.,
             N.Y. Comp. Codes R. & Regs. Tit. 12, §§ 137-1.3 (2010), 146-1.4 (2011)


       31.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

       32.      At all relevant times, Defendants have been, and continue to be an “employer”

engaged in interstate “commerce” within the meaning of FLSA, 29 U.S.C. § 203. At all relevant

times, Defendant has employed, “employee[s],” including Plaintiff.

       33.      Throughout the statute of limitations period covered by this claim, Plaintiff

regularly worked in excess of forty (40) hours per workweek.

       34.      At all relevant times, Defendants operated under a decision, policy and plan, and

under common policies, programs, practices, procedures, protocols, routines and rules of willfully

failing and refusing to pay Plaintiff an overtime wage rate for work in excess of forty (40) hours

per workweek, and willfully failing to keep records required by the FLSA, even though Plaintiff

was entitled to overtime.


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          35.   Plaintiff seeks damages in the amount of unpaid overtime compensation, liquidated

(double) damages as provided by the FLSA for overtime violations, attorneys’ fees and costs, pre-

and post-judgment interest, and such other legal and equitable relief as this Court deems just and

proper.

                              THIRD CLAIM FOR RELIEF
                     New York Wage Statement Requirements Violations
                                N.Y. Lab. L. §§ 195, 198

          36.   Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

          37.   Defendants did not provide Plaintiff with correct and accurate wage

statements/notices required by N.Y. Lab. Law § 195.

          38.   As a result of Defendants’ unlawful conduct, Plaintiff is entitled to an award of

damages in amount to be determined at trial, pre- and post-judgment interest, costs and attorneys’

fees, as provided by N.Y. Lab. Law § 663.

                                FOURTH CLAIM FOR RELIEF
                              (FMLA Retaliation and Interference
                          with FMLA Leave – 29 U.S.C. § 6501 et seq.)

          39.   Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

          40.   Defendants are employers under the FMLA, as they employed more than 50

employees within a 75 mile radius.

          41.   In violation of the FMLA, Defendants intentionally discriminated/retaliated against

and retaliated against Plaintiff because she was set to take FMLA protected pregnancy leave.

          42.   In violation of the FMLA, Defendants interfered with Plaintiff’s ability to take

protected pregnancy leave.



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       43.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial monetary damages, including but not limited to loss

of income, including past and future salary, and benefits.

       44.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, liquidated damages, interest, attorneys’ fees and costs, and such other legal and equitable

relief as this Court deems just and proper.

                              FIFTH CLAIM FOR RELIEF
                     (New York City Human Rights Law (“NYCHRL”)
                    N.Y.C. Admin. Code §§ 8-101 et seq. –Discrimination)

       45.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

       46.     In violation of the NYCHRL, Defendants discriminated against Plaintiff on the

basis of her parental/caregiver status by terminating her employment.

       47.     As a direct and proximate consequence of Defendants’ discrimination against

Plaintiff, Plaintiff suffered, and continues to suffer, substantial monetary damages, including, but

not limited to, a loss of income and employment benefits.

       48.     As a direct and proximate consequence of Defendants’ discrimination against

Plaintiff, Plaintiff suffered, and continues to suffer, substantial non-monetary damages, including,

but not limited to, emotional distress, physical pain and suffering, damage to Plaintiff’s good name

and reputations, lasting embarrassment, humiliation and anguish.

       49.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to backpay, lost employment benefits, and damages for

emotional distress, as well as front pay, punitive damages, post-judgment interest, attorneys’ fees

and costs, and such other legal and equitable relief as this Court deems just and proper.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (A)     For compensatory, liquidated and punitive damages in an amount to be

       determined by the trier of fact;

               (B)     For reasonable attorneys’ fees, interest, and costs of suit;

               (C)     For such other and further relief as the Court may deem just and equitable.



 Dated: New York, New York                Respectfully submitted,
        August 5, 2020                    JOSEPH & KIRSCHENBAUM LLP

                                          By: /s/ D. Maimon Kirschenbaum
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                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which they have a right to jury trial.




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